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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,                     *

       Plaintiff,                             *

       v.                                     *           CIVIL NO. JKB-17-0099

BALTIMORE POLICE                              *
DEPARTMENT, et al.,
                                              *
       Defendants.
                                             ***

                                          ORDER

       The Court hereby APPROVES the Monitoring Team’s November 2022 invoice and

DIRECTS the Clerk to immediately disburse the invoice from the funds presently on deposit in

the registry of the Court.



DATED this 17th day of January, 2023.

                                                   BY THE COURT:



                                                     /s/ JAMES K. BREDAR
                                                   James K. Bredar
                                                   United States District Judge
